




NO. 07-02-0286-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



SEPTEMBER 5, 2002



______________________________





MICHAEL VILLAFANO, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 260
TH
 DISTRICT COURT OF ORANGE COUNTY;



NO. D-020,036-R; HONORABLE BUDDIE J. HAHN, JUDGE



_______________________________



Before QUINN and REAVIS and JOHNSON, JJ.

Appellant Michael Villafano filed a Motion to Dismiss Appeal on August 7, 2002, averring that he no longer wishes to prosecute his appeal. &nbsp;&nbsp;The Motion to Dismiss is signed by both appellant and his attorney. &nbsp;

Without passing on the merits of the case, appellant’s motion for voluntary dismissal is granted and the appeal is hereby dismissed. &nbsp;Tex. R. App. P. 42.2. &nbsp;&nbsp;Having dismissed 



the appeal at appellant’s personal request, no motion for rehearing will be entertained and our mandate will issue forthwith. &nbsp;





Phil Johnson

 &nbsp;&nbsp;&nbsp;	 &nbsp;&nbsp;&nbsp;Justice































































Do not publish.


